 4:05-cr-03116-RGK-DLP   Doc # 23   Filed: 11/14/05   Page 1 of 1 - Page ID # 41



                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )                4:05CR3116
                                     )
           v.                        )
                                     )
URIEL HERNANDEZ RUIZ,                )                   ORDER
                                     )
                Defendants.          )
                                     )


     IT IS ORDERED:

     1.    An evidentiary hearing on defendant Uriel Hernandez
           Ruiz’ motion to suppress, filing 21, will be held
           before the undersigned on December 19, 2005 at 2:30
           p.m. in Courtroom #2, United States Courthouse,
           Lincoln, Nebraska. Based on the defendant’s request,
           the court has scheduled three hours for this hearing.

     2.    Pursuant to NECrimR 12.5, copies of all exhibits
           expected to be offered into evidence during the
           hearing, except those to be used for impeachment only,
           shall be delivered to the chambers of the undersigned
           at least twenty-four (24) hours before the hearing and,
           at the outset of the hearing, to the extent reasonably
           possible, the parties shall provide the undersigned and
           the courtroom deputy with a written list of all
           witnesses the parties expect to call.

     3.    As to all defendants, the trial of this case is
           continued until further order of the court following
           resolution of outstanding motions.

     DATED this 14th day of November, 2005.

                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
